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                                 UNITED STATES JUDICIAL PANEL
                                                     on

                                    MULTIDISTRICT LITIGATION
                                                                                    r        OCX 1 5 2013
                                                                                                                       n
                                                                                          CLERK, U.S. DISTRICT COURT
                                                                                            ALEXANDRIA, VIRGINIA
   IN RE: CAPITAL ONE CONSUMER DATA
   SECURITY BREACH LITIGATION                                                               MDL No. 2915




                                    (SEE ATTACHED SCHEDULE)


                           CONDITIONAL TRANSFER ORDER(CTO -1)


   On October 2, 2019, the Panel transferred 17 civil action(s) to the United States District Court for
  the Eastern District of Virginia for coordinated or consolidated pretrial proceedings pursuant to 28
  U.S.C. § 1407. See _F.Supp.3d^(J.P.M.L. 2019). Since that time, no additional action(s) have been
  transferred to the Eastern District of Virginia. With the consent of that court, all such actions have
  been assigned to the Honorable Anthony J. Trenga.
  It appears that the action(s) on this conditional transfer order involve questions of fact that are
  common to the actions previously transferred to the Eastern District of Virginia and assigned to
  Judge Trenga.

  Pursuant to Rule 7.1 of the Rules of Procedure of the United States ■Tndicial Panel on Miiltidistrict
  Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
  Eastern District of Virginia for the reasons stated in the order of October 2, 2019, and, with the
  consent of that court, assigned to the Honorable Anthony J. Trenga.
  This order does not become effective until it is filed in the Office of the Clerk of the United States
  District Court for the Eastern District of Virginia. The transmittal of this order to said Clerk shall be
  stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
  Panel within this 7-day period, the stay will be continued until further order of the Panel.



                                                          FOR THE PANEL:




                                                          John W. Nichols
   A TRUE COPY, TESTE:                                    Clerk of the Panel
CLERjCy.S. DISTRICT COURT


         DEPUTY CLERK
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